   4:05-cr-03029-DLP   Doc # 29   Filed: 05/06/05   Page 1 of 1 - Page ID # 61




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,             )
                                      )
     Plaintiff,                       )     4:05CR3029
                                      )
     v.                               )
                                      )
ARTHUR E. SHARPLEY, JR.,              )       ORDER
                                      )
     Defendant.                       )


     IT IS ORDERED,

     1. Defendant’s motion for time, filing 26, is granted and
the deadline for filing pretrial motions is extended to May 27,
2005.

     2. The ends of justice will be served by granting such a
motion, and outweigh the interests of the public and the
defendant in a speedy trial, and the additional time arising as a
result of the granting of the motion, the time between
May 6, 2005 and May 27, 2005 shall be deemed excludable time in
any computation of time under the requirements of the Speedy
Trial Act, for the reason that the parties require additional
time to adequately prepare the case, taking into consideration
due diligence of counsel, the novelty and complexity of the case,
and the fact that the failure to grant additional time might
result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) &
(B).

     Dated May 6, 2005.

                                   BY THE COURT


                                   s/     David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
